        Case: 3:20-cv-00429-bbc Document #: 65 Filed: 09/29/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

TROY C. HANSON,

        Plaintiff,
                                                      Case No. 20-cv-429-bbc
   v.

PAUL HESTEKIND, CAROL MIDDLETON,
ELIZABETH TEGELS, M. DOBSON,
P. MILLER, and WISCONSIN
DEPARTMENT OF CORRECTIONS,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants Paul Hestekind, Carol Middleton, Elizabeth Tegels, M. Dobson, P. Miller,

and Wisconsin Department of Corrections against plaintiff Troy C. Hanson

dismissing this case.




        s/ K. Frederickson, Deputy Clerk                 September 29, 2021
        Peter Oppeneer, Clerk of Court                         Date
